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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                      www.flsb.uscourts.gov


In re:

JOSE IGNACIO NAVARRETE                                         Case Number: 18-21412-AJC
                                                               Chapter 13
         Debtor
                                             /

    RESPONSE TO OBJECTION TO CONFIRMATION BY CREDITOR LAKEVIEW LOAN
                             SERVICING, LLC.
                                  AND
     MOTION TO ENFORCE TRIAL TO ENFORCE TRIAL MODIFICATION PLAN AND
           FOR THE ISSUANCE OF FINAL MODIFICATION DOCUMENTS;
          AS WELL AS MOTION FOR SANCTIONS AND ATTORNEY’S FEES

         COMES NOW, the Debtor, Jose Ignacio Navarrete, by and through his undersigned

counsel, hereby files a Response the Objection to Confirmation By Creditor Lakeview Loan

Servicing, LLC. Debtor’s Motion to Enforce Trial to Enforce Trial Modification Plan and for the

Issuance of Final Modification Documents as well as for Sanctions and Attorney’s Fees (“Motion”)

and states as follows:

         1.        On September 17, 2018, the Debtor filed for relief under Chapter 13 of Title 11 of

                   the United States Bankruptcy Code.

         2.        The Court referred this matter to Mortgage Modification Mediation (“MMM”) on

                   September 18, 2019 [DE 82].

         3.       An agreement was reached prior to an MMM conference.

         4.       The MMM Mediator filed a Final Report of Loss Mitigation/Mortgage Modification

                  stating an agreement was reached on October 30, 2020 [DE 93].

         5.       Attached is a copy of the Agreement entered into between the parties

                  (with all personal identifiers redacted).

         6.       Pursuant to the Agreement, the Lender will draft all documents required by

                  the Agreement, other than pleadings or plans required to be filed in this case.

         7.       If the Lender transfers the loan, the Lender must provide a copy of the Order to the
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       new holder of the loan (“Successor Lender”), and the Successor Lender will be

       obligated to comply with all terms of this Order.

8.    All payments shall be considered timely upon receipt by the trustee, not upon

      receipt by the Lender.

9.    According to the Agreement, the payments made by the Debtor to Lender were to

      be in an amount of $1,646.30 for the months of November 1, 2020; December

      1,2020; and January 1, 2020.

10.   Furthermore, the Agreement states, “After all trial period payments are made

      timely, title is clear and you have submitted all the required documents, your

      mortgage will be permanently modified. After successfully completing the Trial

      Payment Plan (TPP), you must continue making payments in accordance with the

      terms of the signed agreement until the permanent loan has been ratified by all

      parties.”

11.   The Chapter 13 Trustee has disbursed all timely payments to Lender; however,

      Debtor is yet to receive his Final Modification documents.

12.   The Debtor will file a modified Chapter 13 Plan to pay Lender commencing

      November 2020 per the terms of the Trial Modification Plan.

13.   The trustee may disburse the payment as adequate protection to the Lender until

      such time as the plan/modified plan is confirmed, or the case is dismissed or

      converted to another chapter.

14.   Contemporaneously herewith the Debtor has filed a Motion to Modify to reflect the

      appropriate terms of the Trial Period Plan and the Notice of Payment Changes

      Lender has filed.

15.   The Debtor has suffered interruption, annoyance, and continuing anxiety as he

      finalizes with his Chapter 13 Bankruptcy filing.
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      16.     The Lender should also be required to compensate the undersigned for any fees

              and costs associated with the filing of this instant Motion.

      17.      Lender’s conduct should not be condoned by this Honorable Court.



      WHEREFORE, the Debtor requests the Motion to Enforce Trial to Enforce Trial

Modification Plan and for the Issuance of Final Modification Documents as well as for Sanctions

and Attorney’s Fees be granted and for such other and further relief as this Court deems proper.



                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court of the

Southern District of Florida, that I am in compliance with the additional qualifications to practice in

this Court set forth in Local Rule 2090-1(A) and that a true and correct copy of the FOREGOING

was filed using CM/ECF and served this 22 March 2022: (i) via CM/ECF upon all parties

registered to receive Notice(s) of Electronic Filing (NEF) in this bankruptcy case, and (ii) via First

Class U.S. Mail, unless stated otherwise, upon the parties listed on the attached Service List and

mailing matrix, as applicable.                         Submitted by:

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Via CM/ECF / E-Mail

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